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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.: 1:12-cv-23443-BLOOM/OTAZO-REYES

  SECURITIES AND EXCHANGE COMMISSION,

                     Plaintiff,

         v.

  SKY GROUP USA, LLC
  EFRAIN BETANCOURT, JR.

                         Defendants, and

  ANGELICA BETANCOURT
  EEB CAPITAL GROUP, LLC

                 Relief Defendants.
  _____________________________________________/

                           RELIEF DEFENDANT’S ANSWER AND
                    AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

                Pursuant to Fed R. Civ. P. 8, Relief Defendant EEB Capital Group, LLC (“Relief

     Defendant”), by and through its undersigned counsel, hereby submits its Answer and

     Affirmative Defenses to the Complaint filed in this action by Plaintiff, Securities and Exchange

     Commission (the “Commission”), in correspondingly numbered paragraphs and denies all

     allegations in the Complaint not specifically admitted below.

                                           I. INTRODUCTION

        1.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 1.

        2.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 2.




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        3.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 3.

        4.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 4.

        5.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 5.

                       II. DEFENDANTS AND RELIEF DEFENDANTS

                                           A. Defendants

        6.      Relief Defendant admits that: Sky Group USA, LLC (“Sky Group” or “The

     Company”) is a Florida limited liability company headquartered in Miami, Florida, that was

     formed in March 2015. However, Relief Defendant is without knowledge as to the remaining

     allegations in Paragraph 6 and therefore denies them.

        7.      Relief Defendant admits that Betancourt is 32 years old, and is a resident of Miami,

     Florida. Relief Defendant is without knowledge as to the remaining allegations of Paragraph 7

     and therefore denies them.

                                          B. Relief Defendants

        8.      Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 8.

        9.      Relief Defendant admits that EEB Capital LLC is a Florida limited liability

     company formed in February 2018. Furthermore, Relief Defendant admits that Betancourt and

     his current wife are signatories on two bank accounts in the name of EEB Capital. However,

     Relief Defendant denies, as alleged in Paragraph 9, that it received at least $1.5 million of Sky

     Group investor funds for “no apparent legitimate purpose.”



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                                  III. JURISDICTION AND VENUE

        10.     The allegations in Paragraph 10 constitute a legal conclusion and accordingly no

     answer is required.

        11.     The allegations in Paragraph 11 constitute a legal conclusion and accordingly no

     answer is required.

        12.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 12.

                                              IV. FACTS

                           A. The Offer and Sale of Promissory Notes

        13.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 13.

        14.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 14.

        15.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 15.

        16.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 16.

        17.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 17.

        18.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 18.

        19.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 19.



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        20.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 20.

        21.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 21.


                              B. The Offer and Sale of Promissory Notes

                                  1. Sky Group’s Use of Investor Funds

        22.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 22.

        23.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 23.

        24.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 24.

                   2. Sky Group’s Profitability and the Safety and Security of the Notes

        25.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 25.

        26.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 26.

        27.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 27.

        28.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 28.

        29.    Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 29.


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         30.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 30.

                             C. Misappropriation of Investor Funds

         31.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 31.

         32.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 32.

         33.     Relief Defendant admits Betancourt and his wife were signatories over its bank

     accounts, and it received funds from Sky Group, but is without knowledge and therefore denies

     the remaining allegations contained in Paragraph 33.

                                    V. CLAIMS FOR RELIEF

                                             COUNT I

                    Violations Of Section 5(a) And 5 (c) Of The Securities Act

         34.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         35.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 35.

         36.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 36.

         37.     The allegations in Paragraph 37 constitute a legal conclusion and accordingly no

     answer is required.

                                            COUNT II

                           Violations Of 17(a)(1) Of The Securities Act



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         38.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         39.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 36.

         40.     The allegations in Paragraph 40 constitute a legal conclusion and accordingly no

     answer is required.

                                              COUNT III

                             Violations Of 17(a)(2) Of The Securities Act

         41.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         42.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 42.

         43.     The allegations in Paragraph 43 constitute a legal conclusion and accordingly no

     answer is required.

                                              COUNT IV

                             Violations Of 17(a)(3) Of The Securities Act

         44.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         45.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 45.

         46.     The allegations in Paragraph 46 constitute a legal conclusion and accordingly no

     answer is required.




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                                              COUNT V

                Violations Of Section 10(b) and Rule 10b-5(a) Of The Exchange Act

         47.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         48.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 48.

         49.     The allegations in Paragraph 49 constitute a legal conclusion and accordingly no

     answer is required.

                                              COUNT VI

                Violations Of Section 10(b) and Rule 10b-5(b) Of The Exchange Act

         50.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         51.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 51.

         52.     The allegations in Paragraph 52 constitute a legal conclusion and accordingly no

     answer is required.

                                             COUNT VII

                Violations Of Section 10(b) and Rule 10b-5(c) Of The Exchange Act

         53.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         54.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 54.




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         55.     The allegations in Paragraph 55 constitute a legal conclusion and accordingly no

     answer is required.

                                              COUNT VIII

                            Violations Of Section 15(a) The Exchange Act

                                       (Against Betancourt Only)

         56.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         57.     Relief Defendant is without knowledge and therefore denies the allegations

     contained in Paragraph 51.

         58.     The allegations in Paragraph 52 constitute a legal conclusion and accordingly no

     answer is required.

                                             COUNT IX

                                         Unjust Enrichment

                  (Against Relief Defendants Angela And EEB Capital Group)

         59.     Relief Defendant reasserts and incorporates its answers to Paragraphs 1 through 33

     as set forth here.

         60.     Relief Defendants denies, as alleged in Paragraph 60, that it received investor

     funds or property derived from those funds to which they have no legitimate claim. Relief

     Defendant has no knowledge of the allegations involving Angela Betancourt and therefor

     denies the remaining allegations in Paragraph 60.

         61.     Relief Defendants denies, as alleged in Paragraph 61, that it obtained the funds

     and property as part of a securities law violation. Relief Defendant further denies that it is

     “not just” or “equitable” to retain the funds. Relief Defendant has no knowledge of the



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     allegations involving Angela Betancourt and therefor denies the remaining allegations in

     Paragraph 61.

            62.    Relief Defendants denies the allegation in paragraph 62 that it has been unjustly

     enriched and should be disgorged.

                                      AFFIRMATIVE DEFENSES

                            FIRST AFFIRMATIVE DEFENSE/AVOIDANCE

            Plaintiff has failed to satisfy prima facie elements of a claim for unjust enrichment. See

  Donald S. Zuckerman, P.A. v. Alex Hofrichter, 676 So.2d 41, 43 (Fla. 3d DCA 1996) (plaintiffs’

  inability to satisfy one or more of the prima facie elements of a claim is an absolute bar to that

  claim).

                          SECOND AFFIRMATIVE DEFENSE/AVOIDANCE

            At all times, Relief Defendant acted in good faith. Relief Defendant believed that all

  monies that it received were from legitimate business operations.



                           THIRD AFFIRMATIVE DEFENSE/AVOIDANCE

            Relief Defendants are entitled to a set-off and/or deduction for all legitimate expenses, fees,

  and/or commissions incurred as a result of their business with Defendants.

                          FOURTH AFFIRMATIVE DEFENSE/AVOIDANCE

            Relief Defendant have a legitimate ownership interest in the funds it received from

  Defendants.

                            FIFTH AFFIRMATIVE DEFENSE/AVOIDANCE

            The Complaint fails to state a claim upon which relief can be granted.

                            SIXTH AFFIRMATIVE DEFENSE/AVOIDANCE



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         The SEC is not entitled to recover prejudgment interest from the Relief Defendants.

                       SEVENTH AFFIRMATIVE DEFENSE/AVOIDANCE

         The SEC fails to identify any purported victim to be compensated from the relief sought

  against the Relief Defendants.

                    RESERVATION OF RIGHT TO SUPPLEMENT DEFENSES

         Relief Defendants deny sufficient knowledge or information at this time as to whether they

  may have additional unstated defenses. Relief Defendants reserve the right to supplement this

  Answer with any additional affirmative defenses.

                                         RELIEF REQUESTED

         Based on the foregoing, Relief Defendants pray that this Court deny any relief or request

  for judgment on behalf of the SEC, including the relief requested in sections I through IX, and

  dismiss this action against them in its entirety, with prejudice, and for such other and further relief

  as the Court deems just and proper.

                                           JURY TRIAL DEMAND

                 Relief Defendants demand a trial by jury in the action as to all issues and claims.

  Dated: November 24, 2021

                                                 Respectfully submitted,

                                                     SALLAH ASTARITA & COX, LLC
                                                     3010 N. Military Trail, Ste. 210
                                                     Boca Raton, FL 33431
                                                     561-989-9080 (Tel)
                                                     561-989-9020 (Fax)

                                                     /s/James D. Sallah
                                                     James D. Sallah, Esq.
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                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on November 24, 2021, I electronically filed the foregoing

     document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being

     served this day upon all counsel of record identified on the attached Service List in the manner

     specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

     some other authorized manner for those counsel or parties who are not authorized to receive

     electronically Notice of Electronic Filing.

                                                                   /s/James D. Sallah
                                                                   James D. Sallah




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